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                   Exhibit 45
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Data Use Policy

Date of Last Revision: December 11, 2012


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Some other things you need to know

I. Information we receive and how it is used

Information we receive about you

We receive a number of different types of information about you, including:

Your information
Your information is the information that's required when you sign up for the site, as well as the information you choose
to share.

      Registration information: When you sign up for Facebook, you are required to provide information such as your
      name, email address, birthday, and gender. In some cases, you may be able to register using other information,
      like your telephone number.

      Information you choose to share: Your information also includes the information you choose to share on
       Facebook, such as when you post a status update, upload a photo, or comment on a friend's story.

It also includes the information you choose to share when you take an action, such as when you add a friend, like a Page
 or a website, add a place to your story, use our contact importers, or indicate you are in a relationship.

Your name, profile pictures, cover photos, gender, networks, username and User ID are treated just like information
you choose to make public.
Your birthday allows us to do things like show you age-appropriate content and advertisements.

Information others share about you
 We receive information about you from your friends and others, such as when they upload your contact information,
 post a photo of you, tag you in a photo or status update, or at a location, or add you to a group.

When people use Facebook, they may store and share information about you and others that they have, such as when
they upload and manage their invites and contacts.

Other information we receive about you
We also receive other types of information about you:

      We receive data about you whenever you interact with Facebook, such as when you look at another person's
      timeline, send or receive a message, search for a friend or a Page, click on, view or otherwise interact with things,
      use a Facebook mobile app, or purchase Facebook Credits or make other purchases through Facebook.
      When you post things like photos or videos on Facebook, we may receive additional related data (or metadata),
      such as the time, date, and place you took the photo or video.
      We receive data from the computer, mobile phone or other device you use to access Facebook, including when
      multiple users log in from the same device. This may include your IP address and other information about things
      like your internet service, location, the type (including identifiers) of browser you use, or the pages you visit. For
      example, we may get your GPS or other location information so we can tell you if any of your friends are nearby.
      We receive data whenever you visit a game, application, or website that uses Facebook Platform or visit a site
      with a Facebook feature (such as a social plugin), sometimes through cookies. This may include the date and time
      you visit the site; the web address, or URL, you're on; technical information about the IP address, browser and
      the operating system you use; and, if you are logged in to Facebook, your User ID.
      Sometimes we get data from our affiliates or our advertising partners, customers and other third parties that helps
      us (or them) deliver ads, understand online activity, and generally make Facebook better. For example, an
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      advertiser may tell us information about you (like how you responded to an ad on Facebook or on another site) in
      order to measure the effectiveness of - and improve the quality of - ads.

We also put together data from the information we already have about you and your friends. For example, we may put
together data about you to determine which friends we should show you in your News Feed or suggest you tag in the
photos you post. We may put together your current city with GPS and other location information we have about you to,
for example, tell you and your friends about people or events nearby, or offer deals to you that you might be interested
in. We may also put together data about you to serve you ads that might be more relevant to you.

When we get your GPS location, we put it together with other location information we have about you (like your
current city). But we only keep it until it is no longer useful to provide you services, like keeping your last GPS
coordinates to send you relevant notifications.
We only provide data to our advertising partners or customers after we have removed your name or any other
personally identifying information from it, or have combined it with other people's data in a way that it is no longer
associated with you.

Public information

When we use the phrase "public information" (which we sometimes refer to as "Everyone information"), we mean the
information you choose to make public, as well as information that is always publicly available.

Information you choose to make public
 Choosing to make your information public is exactly what it sounds like: anyone, including people off of Facebook,
 will be able to see it.

Choosing to make your information public also means that this information:

      can be associated with you (i.e., your name, profile pictures, cover photos, timeline, User ID, username, etc.) even
       off Facebook;
      can show up when someone does a search on Facebook or on a public search engine;
      will be accessible to the Facebook-integrated games, applications, and websites you and your friends use; and
      will be accessible to anyone who uses our APIs such as our Graph API.

Sometimes you will not be able to select an audience when you post something (like when you write on a Page's wall or
comment on a news article that uses our comments plugin). This is because some types of stories are always public
stories. As a general rule, you should assume that if you do not see a sharing icon, the information will be publicly
available.
When others share information about you, they can also choose to make it public.

Information that is always publicly available
 The types of information listed below are always publicly available, and are treated just like information you decided to
 make public.

      Name: This helps your friends and family find you. If you are uncomfortable sharing your real name, you can
      always delete your account.

      Profile Pictures and Cover Photos: These help your friends and family recognize you. If you are uncomfortable
      making any of these photos public, you can always delete it. Unless you delete them, when you add a new profile
      picture or cover photo, the previous photo will remain public in your profile picture or cover photo album.

      Networks: This helps you see whom you will be sharing information with before you choose "Friends and
      Networks" as a custom audience. If you are uncomfortable making your network public, you can leave the
      network.

      Gender: This allows us to refer to you properly.
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      Username and User ID: These allow you to give out a custom link to your timeline or Page, receive email at
      your Facebook email address, and help make Facebook Platform possible.

Usernames and User IDs

A Username (or Facebook URL) is a custom link to your timeline that you can give out to people or post on external
websites. Usernames appear in the URL on your timeline. We also use your User ID to identify your Facebook account.

If someone has your Username or User ID, they can use it to access information about you through the facebook.com
 website. For example, if someone has your Username, they can type facebook.com/Username into their browser and
 see your public information as well as anything else you've let them see. Similarly, someone with your Username or
 User ID can access information about you through our APIs, such as our Graph API. Specifically, they can access your
 public information, along with your age range, language and country.

If you do not want your information to be accessible to Platform applications, you can turn off all Platform applications
 from your Privacy Settings. If you turn off Platform you will no longer be able to use any games or other applications
 until you turn Platform back on. For more information about the information that apps receive when you visit them, see
 Other websites and applications.

If you want to see information available about you through our Graph API, just type
https://graph.facebook.com/[User ID or Username]?metadata=1 into your browser.
Your Facebook email address includes your public username like so: username@facebook.com. Anyone in a message
conversation can reply to it.

How we use the information we receive

We use the information we receive about you in connection with the services and features we provide to you and other
users like your friends, our partners, the advertisers that purchase ads on the site, and the developers that build the
games, applications, and websites you use. For example, in addition to helping people see and find things that you do
and share, we may use the information we receive about you:

      as part of our efforts to keep Facebook products, services and integrations safe and secure;
      to protect Facebook's or others' rights or property;
      to provide you with location features and services, like telling you and your friends when something is going on
       nearby;
      to measure or understand the effectiveness of ads you and others see, including to deliver relevant ads to you;
      to make suggestions to you and other users on Facebook, such as: suggesting that your friend use our contact
       importer because you found friends using it, suggesting that another user add you as a friend because the user
       imported the same email address as you did, or suggesting that your friend tag you in a picture they have
       uploaded with you in it; and
      for internal operations, including troubleshooting, data analysis, testing, research and service improvement.

Granting us this permission not only allows us to provide Facebook as it exists today, but it also allows us to provide
you with innovative features and services we develop in the future that use the information we receive about you in new
ways.

While you are allowing us to use the information we receive about you, you always own all of your information. Your
trust is important to us, which is why we don't share information we receive about you with others unless we have:

      received your permission;
      given you notice, such as by telling you about it in this policy; or
      removed your name or any other personally identifying information from it.

Of course, for information others share about you, they control how it is shared.
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We store data for as long as it is necessary to provide products and services to you and others, including those described
above. Typically, information associated with your account will be kept until your account is deleted. For certain
categories of data, we may also tell you about specific data retention practices.

We are able to suggest that your friend tag you in a picture by scanning and comparing your friend's pictures to
information we've put together from the other photos you've been tagged in. This allows us to make these suggestions.
You can control whether we suggest that another user tag you in a photo using the “How Tags work” settings. Learn
more at: https://www.facebook.com/help/tag-suggestions

Deleting and deactivating your account

If you want to stop using your account, you can either deactivate or delete it.

Deactivate
Deactivating your account puts your account on hold. Other users will no longer see your timeline, but we do not delete
any of your information. Deactivating an account is the same as you telling us not to delete any information because
you might want to reactivate your account at some point in the future. You can deactivate your account at:
https://www.facebook.com/settings?tab=security
Your friends will still see you listed in their list of friends while your account is deactivated.

Deletion
When you delete an account, it is permanently deleted from Facebook. It typically takes about one month to delete an
account, but some information may remain in backup copies and logs for up to 90 days. You should only delete your
account if you are sure you never want to reactivate it. You can delete your account at:
https://www.facebook.com/help/contact.php?show_form=delete_account
Learn more at: https://www.facebook.com/help/?faq=356107851084108

Certain information is needed to provide you with services, so we only delete this information after you delete your
account. Some of the things you do on Facebook aren’t stored in your account, like posting to a group or sending
someone a message (where your friend may still have a message you sent, even after you delete your account). That
information remains after you delete your account.

II. Sharing and finding you on Facebook

Control each time you post

Whenever you post content (like a status update, photo or check-in), you can select a specific audience, or even
customize your audience. To do this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide your story from specific
people.

If you tag someone, that person and their friends can see your story no matter what audience you selected. The same is
 true when you approve a tag someone else adds to your story.

Always think before you post. Just like anything else you post on the web or send in an email, information you share on
Facebook can be copied or re-shared by anyone who can see it.

Although you choose with whom you share, there may be ways for others to determine information about you. For
example, if you hide your birthday so no one can see it on your timeline, but friends post “happy birthday!” on your
timeline, people may determine your birthday.
When you comment on or "like" someone else's story, or write on their timeline, that person gets to select the audience.
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For example, if a friend posts a Public story and you comment on it, your comment will be Public. Often, you can see
the audience someone selected for their story before you post a comment; however, the person who posted the story
may later change their audience.
You can control who can see the Facebook Pages you've "liked" by visiting your timeline, clicking on the Likes box on
your timeline, and then clicking "Edit."
Sometimes you will not see a sharing icon when you post something (like when you write on a Page's wall or comment
on a news article that uses our comments plugin). This is because some types of stories are always public stories. As a
general rule, you should assume that if you do not see a sharing icon, the information will be publicly available.

Control over your timeline

Whenever you add things to your timeline you can select a specific audience, or even customize your audience. To do
this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide the item on your timeline from
specific people.

When you select an audience for your friend list, you are only controlling who can see the entire list of your friends on
your timeline. We call this a timeline visibility control. This is because your friend list is always available to the games,
applications and websites you use, and your friendships may be visible elsewhere (such as on your friends' timelines or
in searches). For example, if you select "Only Me" as the audience for your friend list, but your friend sets her friend
list to "Public," anyone will be able to see your connection on your friend's timeline.

Similarly, if you choose to hide your gender, it only hides it on your timeline. This is because we, just like the
applications you and your friends use, need to use your gender to refer to you properly on the site.

When someone tags you in a story (such as a photo, status update or check-in), you can choose whether you want that
story to appear on your timeline. You can either approve each story individually or approve all stories by your friends.
If you approve a story and later change your mind, you can remove it from your timeline.

When you hide things on your timeline, like posts or connections, it means those things will not appear on your
timeline. But, remember, anyone in the audience of those posts or who can see a connection may still see it elsewhere,
like on someone else's timeline or in search results. You can also delete or change the audience of content you post.
People on Facebook may be able to see mutual friends, even if they cannot see your entire list of friends.
Some things (like your name, profile pictures and cover photos) do not have sharing icons because they are always
publicly available. As a general rule, you should assume that if you do not see a sharing icon, the information will be
publicly available.

Finding you on Facebook

To make it easier for your friends to find you, we allow anyone with your contact information (such as email address or
telephone number) to find you through the Facebook search bar at the top of most pages, as well as other tools we
provide, such as contact importers - even if you have not shared your contact information with them on Facebook.

You can choose who can look up your timeline using the email address or telephone number you added to your timeline
through your privacy settings. But remember that people can still find you or a link to your timeline on Facebook
through other people and the things they share about you or through other posts, like if you are tagged in a friend's
photo or post something to a public page.

Your settings do not control whether people can find you or a link to your timeline when they search for content they
have permission to see, like a photo or other story you’ve been tagged in.
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Access on phones and other devices

Once you share information with your friends and others, they may be able to sync it with or access it via their mobile
phones and other devices. For example, if you share a photo on Facebook, someone viewing that photo could save it
using Facebook tools or by other methods offered by their device or browser. Similarly, if you share your contact
information with someone or invite someone to an event, they may be able to use Facebook or third party applications
or devices to sync that information. Or, if one of your friends has a Facebook application on one of their devices, your
information (such as the things you post or photos you share) may be stored on or accessed by their device.

You should only share information with people you trust because they will be able to save it or re-share it with others,
including when they sync the information to a device.

Activity log

Your activity log is a place where you can go to view most of your information on Facebook, including things you’ve
hidden from your timeline. You can use this log to manage your content. For example, you can do things like delete
stories, change the audience of your stories or stop an application from publishing to your timeline on your behalf.

When you hide something from your timeline, you are not deleting it. This means that the story may be visible
elsewhere, like in your friends’ News Feed. If you want to delete a story you posted, choose the delete option.

What your friends and others share about you

Links and Tags
Anyone can add a link to a story. Links are references to something on the Internet; anything from a website to a Page
or timeline on Facebook. For example, if you are writing a story, you might include a link to a blog you are referencing
or a link to the blogger’s Facebook timeline. If someone clicks on a link to another person’s timeline, they’ll only see
the things that they are allowed to see.

A tag is a special type of link to someone’s timeline that suggests that the tagged person add your story to their timeline.
In cases where the tagged person isn’t included in the audience of the story, it will add them so they can see it. Anyone
can tag you in anything. Once you are tagged, you and your friends will be able to see it (such as in News Feed or in
search).

You can choose whether a story you've been tagged in appears on your timeline. You can either approve each story
individually or approve all stories by your friends. If you approve a story and later change your mind, you can always
remove it from your timeline.

If you do not want someone to tag you, we encourage you to reach out to them and give them that feedback. If that does
 not work, you can block them. This will prevent them from tagging you going forward.

If you are linked to or tagged in a private space (such as a message or a group) only the people who can see the private
space can see the link or tag. Similarly, if you are linked to or tagged in a comment, only the people who can see the
comment can see the link or tag.

Other information
As described in the what your friends and others share about you section of this policy, your friends and others may
share information about you. They may share photos or other information about you and tag you in their posts. If you
do not like a particular post, tell them or report the post.

Groups

Once you are in a Group, anyone in that Group can add you to a subgroup. When someone adds you to a Group, you
will be listed as “invited” until you visit the Group. You can always leave a Group, which will prevent others from
adding you to it again.
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Pages

Facebook Pages are public pages. Companies use Pages to share information about their products. Celebrities use Pages
to talk about their latest projects. And communities use pages to discuss topics of interest, everything from baseball to
the opera.

Because Pages are public, information you share with a Page is public information. This means, for example, that if you
post a comment on a Page, that comment may be used by the Page owner off Facebook, and anyone can see it.

When you "like" a Page, you create a connection to that Page. The connection is added to your timeline and your friends
may see it in their News Feeds. You may be contacted by or receive updates from the Page, such as in your News Feed
and your messages. You can remove the Pages you've "liked" through your timeline or on the Page.

Some Pages contain content that comes directly from the Page owner. Page owners can do this through online plugins,
such as an iframe, and it works just like the games and other applications you use through Facebook. Because this
content comes directly from the Page owner, that Page may be able to collect information about you, just like any
website.

Page administrators may have access to insights data, which will tell them generally about the people that visit their
Page (as opposed to information about specific people). They may also know when you’ve made a connection to their
Page because you’ve liked their Page or posted a comment.

III. Other websites and applications

About Facebook Platform

Facebook Platform (or simply Platform) refers to the way we help you share your information with the games,
applications, and websites you and your friends use. Facebook Platform also lets you bring your friends with you, so
you can connect with them off of Facebook. In these two ways, Facebook Platform helps you make your experiences
on the web more personalized and social.

Remember that these games, applications and websites are created and maintained by other businesses and developers
who are not part of, or controlled by, Facebook, so you should always make sure to read their terms of service and
privacy policies to understand how they treat your data.

Controlling what information you share with applications

When you connect with a game, application or website - such as by going to a game, logging in to a website using your
Facebook account, or adding an app to your timeline - we give the game, application, or website (sometimes referred to
as just "Applications" or "Apps") your basic info (we sometimes call this your "public profile"), which includes your
User ID and your public information. We also give them your friends' User IDs (also called your friend list) as part of
your basic info.

Your friend list helps the application make your experience more social because it lets you find your friends on that
application. Your User ID helps the application personalize your experience because it can connect your account on
that application with your Facebook account, and it can access your basic info, which includes your public information
and friend list. This includes the information you choose to make public, as well as information that is always publicly
available. If the application needs additional information, such as your stories, photos or likes, it will have to ask you
for specific permission.

The “Apps you use” setting lets you control the applications you use. You can see the permissions you have given these
applications, the last time an application accessed your information, and the audience on Facebook for timeline stories
and activity the application posts on your behalf. You can also remove applications you no longer want, or turn off all
Platform applications. When you turn all Platform applications off, your User ID is no longer given to applications,
even when your friends use those applications. But you will no longer be able to use any games, applications or
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websites through Facebook.

 When you first visit an app, Facebook lets the app know your language, your country, and whether you are in an age
 group, for instance, under 18, between 18-20, or 21 and over. Age range lets apps provide you with age-appropriate
 content. If you install the app, it can access, store and update the information you’ve shared. Apps you’ve installed can
 update their records of your basic info, age range, language and country. If you haven’t used an app in a while, it won’t
 be able to continue to update the additional information you’ve given them permission to access. Learn more at:
 https://www.facebook.com/help/how-apps-work
 Sometimes a game console, mobile phone, or other device might ask for permission to share specific information with
 the games and applications you use on that device. If you say okay, those applications will not be able to access any
 other information about you without asking specific permission from you or your friends.
 Sites and apps that use Instant Personalization receive your User ID and friend list when you visit them.
 You always can remove apps you’ve installed by using your app settings at: https://www.facebook.com/settings/?
tab=applications. But remember, apps may still be able to access your information when the people you share with use
 them. And, if you’ve removed an application and want them to delete the information you’ve already shared with them,
 you should contact the application and ask them to delete it. Visit the application’s page on Facebook or their own
 website to learn more about the app. For example, Apps may have reasons (e.g. legal obligations) to retain some data
 that you share with them.

Controlling what is shared when the people you share with use applications

Just like when you share information by email or elsewhere on the web, information you share on Facebook can be re-
shared. This means that if you share something on Facebook, anyone who can see it can share it with others, including
 the games, applications, and websites they use.

Your friends and the other people you share information with often want to share your information with applications to
make their experiences on those applications more personalized and social. For example, one of your friends might
want to use a music application that allows them to see what their friends are listening to. To get the full benefit of that
application, your friend would want to give the application her friend list – which includes your User ID – so the
application knows which of her friends is also using it. Your friend might also want to share the music you “like” on
Facebook. If you have made that information public, then the application can access it just like anyone else. But if
you’ve shared your likes with just your friends, the application could ask your friend for permission to share them.

You can control most of the information other people can share with applications they use from the “Ads, Apps and
Websites” settings page. But these controls do not let you limit access to your public information and friend list.

If you want to completely block applications from getting your information when your friends and others use them, you
 will need to turn off all Platform applications. This means that you will no longer be able to use any third-party
 Facebook-integrated games, applications or websites.

If an application asks permission from someone else to access your information, the application will be allowed to use
that information only in connection with the person that gave the permission and no one else.

Logging in to another site using Facebook

Facebook Platform lets you log into other applications and websites using your Facebook account. When you log in
using Facebook, we give the site your User ID (just like when you connect with any other application), but we do not
share your email address or password with that website through this process without your permission.

If you already have an account on that website, the site may also be able to connect that account with your Facebook
 account. Sometimes it does this using what is called an "email hash", which is similar to searching for someone on
 Facebook using an email address. Only the email addresses in this case are hashed so no email addresses are actually
 shared between Facebook and the website.

How it works
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The website sends over a hashed version of your email address, and we match it with a database of email addresses that
we have also hashed. If there is a match, then we tell the website the User ID associated with the email address. This
way, when you log into the website using Facebook, the website can link your Facebook account to your account on
that website.

About social plugins

Social plugins are buttons, boxes, and stories (such as the Like button) that other websites can use to present Facebook
content to you and create more social and personal experiences for you. While you view these buttons, boxes, and
stories on other sites, the content comes directly from Facebook.

Sometimes plugins act just like applications. You can spot one of these plugins because it will ask you for permission to
access your information or to publish information back to Facebook. For example, if you use a registration plugin on a
website, the plugin will ask your permission to share your basic info with the website to make it easier for you to
register for the website. Similarly, if you use an Add To Timeline plugin, the plugin will ask your permission to publish
stories about your activities on that website to Facebook.

If you make something public using a plugin, such as posting a public comment on a newspaper's website, then that
 website can access your comment (along with your User ID) just like everyone else.

If you post something using a social plugin and you do not see a sharing icon, you should assume that story is Public.
For example, if you post a comment through a Facebook comment plugin on a site, your story is Public and everyone,
including the website, can see your story.
Websites that use social plugins can sometimes tell that you have engaged with the social plugin. For example, they
may know that you clicked on a Like button in a social plugin.
We receive data when you visit a site with a social plugin. We keep this data for a maximum of 90 days. After that, we
remove your name or any other personally identifying information from the data, or combine it with other people's data
in a way that it is no longer associated with you. Learn more at: https://www.facebook.com/help/social-plugins

About instant personalization

Instant personalization (sometimes also referred to as "Start now") is a way for Facebook to help partners (such as Bing
 and Rotten Tomatoes) on and off Facebook create a more personalized and social experience for logged in users than a
 social plugin can offer. When you visit a site or app using instant personalization, it will know some information about
 you and your friends the moment you arrive. This is because sites and apps using instant personalization can access
 your User ID, your friend list, and your public information.

The first time you visit a site or app using instant personalization, you will see a notification letting you know that the
site or app has partnered with Facebook to provide a personalized experience.

The notification will give you the ability to disable or turn off instant personalization for that site or app. If you do that,
that site or app is required to delete all of the information about you it received from Facebook as part of the instant
personalization program. In addition, we will prevent that site from accessing your information in the future, even when
your friends use that site.

If you decide that you do not want to experience instant personalization for all partner sites and apps, you can disable
 instant personalization from the “Ads, Apps and Websites” settings page.

If you turn off instant personalization, these partner third party sites and apps will not be able to access your public
 information, even when your friends visit those sites.

If you turn off an instant personalization site or app after you have been using it or visited it a few times (or after you
have given it specific permission to access your data), it will not automatically delete information about you it received
through Facebook. Like all other apps, the site is required by our policies to delete information about you if you ask it
to.
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How it works
To join the instant personalization program, a potential partner must enter into an agreement with us designed to protect
your privacy. For example, this agreement requires that the partner delete information about you if you turn off instant
personalization when you first visit the site or app. It also prevents the partner from accessing any information about
you until you or your friends visit its site.

Instant personalization partners sometimes use an email hash process to see if any of their users are on Facebook and get
 those users' User IDs. This process is similar to searching for someone on Facebook using an email address, except in
 this case the email addresses are hashed so no actual email addresses are exchanged. The partner is also contractually
 required not to use your User ID for any purpose (other than associating it with your account) until you or your friends
 visit the site.

When you visit a site or app using instant personalization, we provide the site or app with your User ID and your friend
list (as well as your age range, locale, and gender). The site or app can then connect your account with that partner with
your friends' accounts to make the site or app instantly social. The site can also access public information associated
with any of the User IDs it receives, which it can use to make them instantly personalized. For example, if the site is a
music site, it can access your music interests to suggest songs you may like, and access your friends' music interests to
let you know what they are listening to. Of course it can only access your or your friends’ music interests if they are
public. If the site or app wants any additional information, it will have to get your specific permission.

Public search engines

Your public search setting controls whether people who enter your name on a public search engine may see your public
timeline (including in sponsored results). You can find your public search setting on the “Ads, Apps and Websites”
settings page.

This setting does not apply to search engines that access your information as an application using Facebook Platform.
If you turn your public search setting off and then search for yourself on a public search engine, you may still see a
preview of your timeline. This is because some search engines cache information for a period of time. You can learn
more about how to request a search engine to remove you from cached information at:
https://www.facebook.com/help/?faq=13323

IV. How advertising and Sponsored Stories work

Personalized ads

We do not share any of your information with advertisers (unless, of course, you give us permission). As described in
this policy, we may share your information when we have removed from it anything that personally identifies you or
combined it with other information so that it no longer personally identifies you.

We use the information we receive, including the information you provide at registration or add to your account or
timeline, to deliver ads and to make them more relevant to you. This includes all of the things you share and do on
Facebook, such as the Pages you like or key words from your stories, and the things we infer from your use of
Facebook. Learn more at: https://www.facebook.com/help/?page=226611954016283

When an advertiser creates an ad, they are given the opportunity to choose their audience by location, demographics,
likes, keywords, and any other information we receive or can tell about you and other users. For example, an advertiser
can choose to target 18 to 35 year-old women who live in the United States and like basketball. An advertiser could
also choose to target certain topics or keywords, like “music” or even people who like a particular song or artist. If you
indicate that you are interested in topics, such as by liking a Page, including topics such as products, brands, religion,
health status, or political views, you may see ads related to those topics as well. We require advertisers to comply with
our Advertising Guidelines, including provisions relating to the use of sensitive data. Try this tool yourself to see one of
the ways advertisers target ads and what information they see at: https://www.facebook.com/ads/create/
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If the advertiser chooses to run the ad (also known as placing the order), we serve the ad to people who meet the criteria
 the advertiser selected, but we do not tell the advertiser who any of those people are. So, for example, if a person views
 or otherwise interacts with the ad, the advertiser might infer that the person is an 18-to-35-year-old woman who lives in
 the U.S. and likes basketball. But we would not tell the advertiser who that person is.

After the ad runs, we provide advertisers with reports on how their ads performed. For example we give advertisers
reports telling them how many users saw or clicked on their ads. But these reports are anonymous. We do not tell
advertisers who saw or clicked on their ads.

Advertisers or their partners sometimes place cookies on your computer (or use other similar system technologies) in
order to serve ads and to make their ads more effective. Learn more about cookies, pixels and other system
technologies.
Sometimes we allow advertisers to target a category of user, like a "moviegoer" or a "sci-fi fan." We do this by
bundling characteristics that we believe are related to the category. For example, if a person "likes" the "Star Trek"
Page and mentions "Star Wars" when they check into a movie theater, we may conclude that this person is likely to be a
sci-fi fan. Advertisers of sci-fi movies, for example, could ask us to target “sci-fi fans” and we would target that group,
which may include you. Or if you “like” Pages that are car-related and mention a particular car brand in a post, we
might put you in the “potential car buyer” category and let a car brand target to that group, which would include you.

Ads + social context

Facebook Ads are sometimes paired with social actions your friends have taken. For example, an ad for a sushi
restaurant may be paired with a news story that one of your friends likes that restaurant's Facebook page.

This is the same type of news story that could show up in your News Feed, only we place it next to a paid advertisement
to make that ad more relevant and interesting.

When you show up in one of these news stories, we will only pair it with ads shown to your friends. If you do not want
to appear in stories paired with Facebook Ads, you can opt out using your “Edit social ads” setting.

Learn what happens when you click "Like" on an advertisement or an advertiser's Facebook Page at:
https://www.facebook.com/help/?faq=19399
We may serve ads, including those with social context (or serve just social context), on other sites. These work just like
the ads we serve on Facebook - the advertisers do not receive any of your information. Only people that could see the
Facebook action (like on your timeline) would see it paired in this way.
Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.
Games, applications and websites can serve ads directly to you or help us serve ads to you or others if they have
information like your User ID or email address.

Sponsored stories

Many of the things you do on Facebook (like "liking" a Page) are posted to your timeline and shared in News Feed. But
there's a lot to read in News Feed. That's why we allow people to "sponsor" your stories to make sure your friends and
subscribers see them. For example, if you RSVP to an event hosted by a local restaurant, that restaurant may want to
make sure your friends see it so they can come too.

If they do sponsor a story, that story will appear in the same place ads usually do or in your News Feed under the
 heading "Sponsored" or something similar. Only people that could originally see the story can see the sponsored story,
 and no personal information about you (or your friends) is shared with the sponsor.

Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

Facebook content
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We like to tell you about some of the features and tools your friends and others use on Facebook, to help you have a
better experience. For example, if your friend uses our friend finder tool to find more friends on Facebook, we may tell
you about it to encourage you to use it as well. This of course means your friend may similarly see suggestions based
on the things you do. But we will try to only show it to friends that could benefit from your experience.

Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

V. Cookies, pixels and other similar technologies

Cookies are small pieces of data that are stored on your computer, mobile phone or other device. Pixels are small blocks
of code on webpages that do things like allow another server to measure viewing of a webpage and often are used in
connection with cookies.

We use technologies like cookies, pixels, and local storage (like on your browser or device, which is similar to a cookie
but holds more information) to provide and understand a range of products and services. Learn more at:
https://www.facebook.com/help/cookies

We use these technologies to do things like:

      make Facebook easier or faster to use;
      enable features and store information about you (including on your device or in your browser cache) and your use
       of Facebook;
      deliver, understand and improve advertising;
      monitor and understand the use of our products and services; and
      to protect you, others and Facebook.

For example, we may use them to know you are logged in to Facebook, to help you use social plugins and share buttons,
or to know when you are interacting with our advertising or Platform partners.

We may ask advertisers or other partners to serve ads or services to computers, mobile phones or other devices, which
may use a cookie, pixel or other similar technology placed by Facebook or the third party (although we would not share
any other information that identifies you with an advertiser).

Most companies on the web use cookies (or other similar technological tools), including our advertising and Platform
partners. For example, our Platform partners, advertisers or Page administrators may use cookies or similar
technologies when you access their apps, ads, Pages or other content.

Cookies and things like local storage help make Facebook work, like allowing pages to load faster because certain
content is stored on your browser or by helping us authenticate you to deliver personalized content.
To learn more about how advertisers generally use cookies and the choices advertisers provide, visit the Network
Advertising Initiative at http://www.networkadvertising.org/managing/opt_out.asp, the Digital Advertising Alliance at
http://www.aboutads.info/, the Internet Advertising Bureau (US) at http://www.iab.net or the Internet Advertising
Bureau (EU) at http://youronlinechoices.eu/.
Refer to your browser or device's help material to learn what controls you can often use to remove or block cookies or
other similar technologies or block or remove other data stored on your computer or device (such as by using the
various settings in your browser). If you do this, it may affect your ability to use Facebook or other websites and apps.

VI. Some other things you need to know

Safe harbor
Facebook complies with the U.S.-EU and U.S.-Swiss Safe Harbor frameworks as set forth by the Department of
Commerce regarding the collection, use, and retention of data from the European Union. To view our certification, visit
the U.S. Department of Commerce's Safe Harbor website at: https://safeharbor.export.gov/list.aspx. As part of our
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 participation in the Safe Harbor program, we agree to resolve disputes you have with us in connection with our policies
 and practices through TRUSTe. If you would like to contact TRUSTe, visit:https://feedback-
form.truste.com/watchdog/request

Contact us with questions or disputes
If you have questions or complaints regarding our Data Use Policy or practices, please contact us by mail at 1601
Willow Road, Menlo Park, CA 94025 if you reside in the U.S. or Canada, or at Facebook Ireland Ltd., Hanover Reach,
5-7 Hanover Quay, Dublin 2 Ireland if you live outside the U.S. or Canada. Anyone may also contact us through this
help page: https://www.facebook.com/help/contact_us.php?id=173545232710000

Responding to legal requests and preventing harm
We may access, preserve and share your information in response to a legal request (like a search warrant, court order or
subpoena) if we have a good faith belief that the law requires us to do so. This may include responding to legal requests
from jurisdictions outside of the United States where we have a good faith belief that the response is required by law in
that jurisdiction, affects users in that jurisdiction, and is consistent with internationally recognized standards. We may
also access, preserve and share information when we have a good faith belief it is necessary to: detect, prevent and
address fraud and other illegal activity; to protect ourselves, you and others, including as part of investigations; and to
prevent death or imminent bodily harm. Information we receive about you, including financial transaction data related
to purchases made with Facebook Credits, may be accessed, processed and retained for an extended period of time
when it is the subject of a legal request or obligation, governmental investigation, or investigations concerning possible
violations of our terms or policies, or otherwise to prevent harm. We also may retain information from accounts
disabled for violations of our terms for at least a year to prevent repeat abuse or other violations of our terms.

Access requests
You can access and correct most of your personal data stored by Facebook by logging into your account and viewing
your timeline and activity log. You can also download a copy of your personal data by visiting your “Account
Settings”, clicking on “Download a copy of your Facebook data” and then clicking on the link for your expanded
archive. Learn more at: https://www.facebook.com/help/?faq=226281544049399

Notifications and Other Messages
We may send you notifications and other messages using the contact information we have for you, like your email
address. You can control most of the notifications you receive, including ones from Pages you like and applications you
use, using controls we provide, such as a control included in the email you receive or in your “Notifications” settings.

Friend finder
We offer tools to help you upload your friends' contact information so that you and others can find friends on
Facebook, and invite friends who do not use Facebook to join, and so we can offer you and others better experiences on
Facebook through suggestions and other customized experiences. If you do not want us to store this information, visit
this help page at: https://www.facebook.com/contact_importer/remove_uploads.php.

If you give us your password, we will delete it after you upload your friends' contact information.

Invitations
 When you invite a friend to join Facebook, we send a message on your behalf using your name, and we may also
 include names and pictures of other people your friend might know on Facebook. We'll also send a few reminders to
 those you invite, but the invitation will also give your friend the opportunity to opt out of receiving other invitations to
 join Facebook.

Memorializing accounts
We may memorialize the account of a deceased person. When we memorialize an account, we keep the timeline on
Facebook, but limit access and some features. You can report a deceased person's timeline at:
https://www.facebook.com/help/contact.php?show_form=deceased

We also may close an account if we receive a formal request that satisfies certain criteria.
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Affiliates
We may share information we receive with businesses that are legally part of the same group of companies that
Facebook is part of, or that become part of that group (often these companies are called affiliates). Likewise, our
affiliates may share information with us as well. This sharing is done in compliance with applicable laws including
where such applicable laws require consent. We and our affiliates may use shared information to help provide,
understand, and improve our services and their own services.

Service Providers
We give your information to the people and companies that help us provide, understand and improve the services we
offer. For example, we may use outside vendors to help host our website, serve photos and videos, process payments,
analyze data, conduct and publish research, measure the effectiveness of ads, or provide search results. In some cases
we provide the service jointly with another company, such as the Facebook Marketplace. In all of these cases our
partners must agree to only use your information consistent with the agreement we enter into with them, as well as this
Data Use Policy.

Security and bugs
We do our best to keep your information secure, but we need your help. For more detailed information about staying
safe on Facebook, visit the Facebook Security Page. We try to keep Facebook up, bug-free and safe, but can’t make
guarantees about any part of our services or products.

Change of Control
If the ownership of our business changes, we may transfer your information to the new owner so they can continue to
operate the service. But they will still have to honor the commitments we have made in this Data Use Policy.

Notice of Changes
If we make changes to this Data Use Policy we will notify you (for example, by publication here and on the Facebook
Site Governance Page). If the changes are material, we will provide you additional, prominent notice as appropriate
under the circumstances. You can make sure that you receive notice directly by liking the Facebook Site Governance
Page.

Opportunity to comment
Unless we make a change for legal or administrative reasons, or to correct an inaccurate statement, we will give you
seven (7) days to provide us with comments on the change. After the comment period, if we adopt any changes, we will
provide notice (for example, on the
